    Case 21-03010-sgj Doc 40 Filed 08/11/21                    Entered 08/11/21 21:02:48            Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03010 (SGJ)
                                                                        )
HIGHLAND CAPITAL MANAGEMENT FUND                                        )
ADVISORS, L.P. AND NEXPOINT ADVISORS, L.P.,                             )
                                                                        )
                             Defendants.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned
case.

        On August 6, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Order Approving Stipulation (A) Amending Scheduling Order and (B)
          Consolidating and Resolving Certain Matters [Docket No. 37]


Dated: August 11, 2021
                                                          /s/ Esmeralda Aguayo
                                                          Esmeralda Aguayo
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 21-03010-sgj Doc 40 Filed 08/11/21   Entered 08/11/21 21:02:48   Page 2 of 5



                             EXHIBIT A
            Case 21-03010-sgj Doc 40 Filed 08/11/21                                  Entered 08/11/21 21:02:48                     Page 3 of 5
                                                                             Exhibit A
                                                                       Adversary Service List
                                                                      Served via Electronic Mail



                    Description                            CreditorName                     CreditorNoticeName                          Email
  Financial Advisor to Official Committee of                                          Earnestiena Cheng, Daniel H       Earnestiena.Cheng@fticonsulting.com;
  Unsecured Creditors                             FTI Consulting                      O'Brien                           Daniel.H.O'Brien@fticonsulting.com
                                                                                      Melissa S. Hayward, Zachery Z.    MHayward@HaywardFirm.com;
  Counsel for the Debtor                          Hayward & Associates PLLC           Annable                           ZAnnable@HaywardFirm.com
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                       A. Lee Hogewood, III              Lee.hogewood@klgates.com
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                       Artoush Varshosaz                 artoush.varshosaz@klgates.com
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                       James A. Wright III               james.wright@klgates.com
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                       Stephen G. Topetzes               stephen.topetzes@klgates.com
  Counsel for UBS Securities LLC and UBS AG                                           Andrew Clubok, Sarah              andrew.clubok@lw.com;
  London Branch                                   Latham & Watkins LLP                Tomkowiak                         sarah.tomkowiak@lw.com
  Counsel for UBS Securities LLC and UBS AG                                                                             asif.attarwala@lw.com;
  London Branch                                   Latham & Watkins LLP                Asif Attarwala, Kathryn K. George Kathryn.George@lw.com
  Counsel for UBS Securities LLC and UBS AG                                           Jeffrey E. Bjork, Kimberly A.     jeff.bjork@lw.com;
  London Branch                                   Latham & Watkins LLP                Posin                             kim.posin@lw.com
  Counsel for UBS Securities LLC and UBS AG                                                                             Zachary.Proulx@lw.com;
  London Branch                                   Latham & Watkins LLP                Zachary F. Proulx, Jamie Wine     Jamie.Wine@lw.com
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic                                            Davor Rukavina, Esq., Julian P.   drukavina@munsch.com;
  Opportunities Fund and NexPoint Capital Inc.    Munsch Hardt Kopf & Harr, P.C.      Vasek, Esq.                       jvasek@munsch.com
                                                                                                                        mclemente@sidley.com;
                                                                                      Matthew Clemente, Alyssa          alyssa.russell@sidley.com;
  Counsel for Official Committee of Unsecured                                         Russell, Elliot A. Bromagen,      ebromagen@sidley.com;
  Creditors                                       Sidley Austin LLP                   Dennis M. Twomey                  dtwomey@sidley.com
                                                                                                                        preid@sidley.com;
                                                                                      Penny P. Reid, Paige Holden       pmontgomery@sidley.com;
  Counsel for Official Committee of Unsecured                                         Montgomery, Juliana Hoffman,      jhoffman@sidley.com;
  Creditors                                       Sidley Austin LLP                   Chandler M. Rognes                crognes@sidley.com




Highland Capital Management, L.P.
Case No. 19-34054                                                            Page 1 of 1
Case 21-03010-sgj Doc 40 Filed 08/11/21   Entered 08/11/21 21:02:48   Page 4 of 5



                             EXHIBIT B
                                    Case 21-03010-sgj Doc 40 Filed 08/11/21                        Entered 08/11/21 21:02:48                       Page 5 of 5
                                                                                           Exhibit B
                                                                                     Adversary Service List
                                                                                   Served via First Class Mail


                   Description                            CreditorName              CreditorNoticeName                   Address1                    Address2             City   State      Zip
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic                                                                       4350 Lassiter at North Hills
  Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                 A. Lee Hogewood, III             Avenue Suite 300                                     Raleigh    NC      27609
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic                                                                       1717 Main Street, Suite
  Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                 Artoush Varshosaz                2800                                                 Dallas     TX      75201
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                 James A. Wright III              1 Lincoln Street                                     Boston     MA      02110
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint Capital Inc.    K&L Gates LLP                 Stephen G. Topetzes              1601 K Street, NW                                    Washington DC      20006-1600
  Counsel for UBS Securities LLC and UBS AG                                     Andrew Clubok, Sarah             555 Eleventh Street, NW,
  London Branch                                   Latham & Watkins LLP          Tomkowiak                        Suite 1000                                           Washington DC      20004
  Counsel for UBS Securities LLC and UBS AG                                     Asif Attarwala, Kathryn K.       330 North Wabash
  London Branch                                   Latham & Watkins LLP          George                           Avenue, Ste. 2800                                    Chicago    IL      60611
  Counsel for UBS Securities LLC and UBS AG                                     Jeffrey E. Bjork, Kimberly A.    355 S. Grand Ave., Ste.
  London Branch                                   Latham & Watkins LLP          Posin                            100                                                  Los Angeles CA     90071
  Counsel for UBS Securities LLC and UBS AG                                     Zachary F. Proulx, Jamie         1271 Avenue of the
  London Branch                                   Latham & Watkins LLP          Wine                             Americas                                             New York   NY      10020
  Counsel for Highland Capital Management
  Fund Advisors, L.P., NexPoint Advisors, L.P.,
  Highland Income Fund, NexPoint Strategic                                       Davor Rukavina, Esq., Julian
  Opportunities Fund and NexPoint Capital Inc.    Munsch Hardt Kopf & Harr, P.C. P. Vasek, Esq.               3800 Ross Tower                   500 N. Akard Street   Dallas     TX      75202




Highland Capital Management, L.P.
Case No. 19-34054                                                                         Page 1 of 1
